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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION


  STEPHEN M. DAVIS,

                     Plaintiff,

  v.                                            Case No: 6:22-cv-2222-PGB-UAM

  ORANGE COUNTY,

                     Defendant.
                                        /
                                            ORDER

        This cause is before the Court upon remand from the Eleventh Circuit Court

  of Appeals. (Docs. 31, 32). The Court previously granted Defendant Orange

  County’s (“Defendant”) Motion to Dismiss and dismissed Plaintiff Stephen M.

  Davis’s (“Plaintiff”) claims with prejudice. (Doc. 27 (the “Order”)). Plaintiff

  appealed the Order’s dismissal of his retaliation claims. (Doc. 28). During the

  pendency of Plaintiff’s appeal, the Supreme Court decided Muldrow v. City of St.

  Louis, 601 U.S. 346 (2024), which is applicable to the Court’s analysis of Plaintiff’s

  retaliation claims. (Doc. 31). Accordingly, the Eleventh Circuit Court of Appeals

  vacated the Order and remanded the case for this Court to reassess Plaintiff’s

  retaliation claims under Muldrow. (Docs. 31, 32).
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  I.       BACKGROUND 1

           The factual background of this case was previously outlined in the Court’s

  Order granting Defendant’s Motion to Dismiss. (Doc. 27, pp. 1–4).

           Plaintiff’s retaliation claims arise under Title VII of the Civil Rights Act of

  1964 (“Title VII”), the Florida Civil Rights Act (the “FCRA”), and the Americans

  with Disabilities Act of 1990 (the “ADA”). (Doc. 1-1). The parties filed

  supplemental briefing regarding Muldrow, and the matter is thus ripe for review.

  (Docs. 35, 36).

  II.      STANDARD OF REVIEW

           To survive a Rule 12(b)(6) motion to dismiss, the complaint “must contain

  sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible

  on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.

  Twombly, 550 U.S. 544, 570 (2007)). A claim is plausible on its face when the

  plaintiff “pleads factual content that allows the court to draw the reasonable

  inference that the defendant is liable for the misconduct alleged.” Id. Legal

  conclusions and recitation of a claim’s elements are properly disregarded, and

  courts are “not bound to accept as true a legal conclusion couched as a factual

  allegation.” Papasan v. Allain, 478 U.S. 265, 286 (1986). Courts must also view the

  complaint in the light most favorable to the plaintiff and must resolve any doubts



  1     This account of the facts comes from Plaintiff’s Complaint. (Doc. 1-1). The Court accepts well-
        pled factual allegations as true when considering motions to dismiss. See Williams v. Bd. of
        Regents, 477 F.3d 1282, 1291 (11th Cir. 2007).




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  as to the sufficiency of the complaint in the plaintiff’s favor. Hunnings v. Texaco,

  Inc., 29 F.3d 1480, 1484 (11th Cir. 1994) (per curiam).

         Furthermore, in ruling on a motion to dismiss, “[a] court is generally limited

  to reviewing what is within the four corners of the complaint” and the attachments

  thereto which are undisputed and central to the claim. St. George v. Pinellas

  County, 285 F.3d 1334, 1337 (11th Cir. 2002); Austin v. Mod. Woodman of Am.,

  275 F. App’x 925, 926 (11th Cir. 2008) 2 (quoting Bickley v. Caremark RX, Inc., 461

  F.3d 1325, 1329 n.7 (11th Cir. 2006)). In addition, however, the court may consider

  documents central to a claim whose authenticity is not in dispute as well as matters

  that are subject to judicial notice. See Tellabs, Inc. v. Makor Issues & Rts., Ltd.,

  551 U.S. 308, 322 (2007); Allen v. USAA Cas. Ins. Co., 790 F.3d 1274, 1278 (11th

  Cir. 2015); Horsley v. Feldt, 304 F.3d 1125, 1134 (11th Cir. 2002) (permitting courts

  to consider documents attached to a motion to dismiss without converting the

  motion into one for summary judgment, but only if the attached documents are

  central to the plaintiff’s claims and undisputed); see also FED. R. EVID. 201 (stating

  that a court “may judicially notice a fact that is not subject to reasonable dispute”

  because it is either “generally known within the trial court’s territorial jurisdiction”

  or it “can be accurately and readily determined from sources whose accuracy

  cannot reasonably be questioned”).




  2   “Unpublished opinions are not controlling authority and are persuasive only insofar as their
      legal analysis warrants.” Bonilla v. Baker Concrete Const., Inc., 487 F.3d 1340, 1345 (11th Cir.
      2007).



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          In sum, courts must: reject conclusory allegations, bald legal assertions, and

  formulaic recitations of the elements of a claim; accept well-pled factual allegations

  as true; and view well-pled allegations in the light most favorable to the plaintiff.

  Iqbal, 556 U.S. at 679.

  III.    DISCUSSION

          In reassessing Plaintiff’s retaliation claims, the Court again turns to “two

  Title VII provisions that provide interwoven, but not identical, protections to

  employees.” (Doc. 31, p. 6). Namely, the Court considers Title VII’s retaliation and

  discrimination provisions. (Id.).

          A.     Title VII: Retaliation Provision

          First, under Title VII’s retaliation provision, it is unlawful for a covered

  employer to retaliate against an employee because the employee “opposed any

  practice made an unlawful employment practice” by Title VII. 42 U.S.C. § 2000e-

  3(a).

          To establish a prima facie case of retaliation under Title VII, the FCRA, and

  the ADA (collectively, the “Acts”), 3 Plaintiff must demonstrate three elements: “(1)

  that he engaged in statutorily protected activity; (2) that he suffered adverse

  employment action; and (3) that the adverse employment action was causally


  3   Florida courts interpret the retaliation provisions of the FCRA in accord with Title VII because
      the FCRA is patterned after Title VII. Hinton v. Supervision Int’l, Inc., 942 So. 2d 986, 989
      (Fla. 5th DCA 2006) (citing Harper v. Blockbuster Ent. Corp., 139 F.3d 1385 (11th Cir. 1998))
      (“Florida courts have held that decisions construing Title VII are applicable when considering
      claims under the Florida Civil Rights Act.”). The same goes for the ADA. Chanda v.
      Engelhard/ICC, 234 F.3d 1219, 1225 (11th Cir. 2000); Standard v. A.B.E.L. Servs., Inc., 161
      F.3d 1318, 1328 (11th Cir. 1998); see also Stewart v. Happy Herman’s Cheshire Bridge, 117
      F.3d 1278, 1287 (11th Cir. 1997).



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  related to the protected activity.” Harper v. Blockbuster Ent. Corp., 139 F.3d 1385,

  1388 (11th Cir. 1998).

        It is undisputed that Plaintiff suffered an adverse employment action due to

  his termination. Instead, the “narrow issue before us in this case is whether

  [Plaintiff] engaged in statutorily protected activity when he opposed the

  [Defendant’s] order to issue the written reprimands.” (Doc. 31, p. 7).

              1.     Protected Activity

        There are two types of protected activities under Title VII: those afforded

  protection under a participation theory and those afforded protection under an

  opposition theory. See Crawford v. Metro. Gov’t of Nashville & Davidson Cnty.,

  555 U.S. 271, 274–75 (2009). Plaintiff proceeds under an “opposition” theory. The

  Eleventh Circuit has previously held that “[a] plaintiff engages in statutorily

  protected activity when he or she protests an employer’s conduct which is actually

  lawful, so long as he or she demonstrates a good faith, reasonable belief that the

  employer was engaged in unlawful employment practices.” Harper, 139 F.3d at

  1388 (emphasis added) (internal quotation marks and citations omitted).

  “However, it is insufficient for a plaintiff to allege his belief in this regard was

  honest and bona fide; the allegations and record must also indicate that the belief,

  though perhaps mistaken, was objectively reasonable.” Id. (emphasis added).

        Plaintiff alleges he engaged in statutorily protected activity when he refused

  to follow Defendant’s order to issue the written reprimands to firefighters whom

  he knew or reasonably believed had sought an exemption from Defendant’s



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  vaccination policy (or who were otherwise compliant with that same policy) such

  that administering the written reprimands would have constituted disability or

  religious discrimination under the Acts; Plaintiff further alleges he communicated

  this belief when he opposed his superior’s orders. (Doc. 1-1, ¶¶ 3, 22–26, 28–29,

  31–44, 51–57, 68, 70–73, 79, 81–83, 85, 91, 93–95, 97, 104, 107–10; Doc. 20, pp.

  10–16). 4

         Thus, to determine whether Plaintiff “alleged an objectively reasonable

  belief that [Defendant] was discriminating against the firefighters designated to

  receive the written reprimands, we turn to the next Title VII provision—the

  substantive discrimination provision.” (Doc. 31, p. 7).

         B.      Title VII: Discrimination Provision

         Under Title VII’s discrimination provision, it is unlawful for an employer to

  discriminate against an employee “with respect to his compensation, terms,

  conditions, or privileges of employment” due to the employee’s membership in a

  protected class. 42 U.S.C. § 2000e-2(a)(1). (See Doc. 31, p. 8 n.3). “An employer’s

  discriminatory act must rise to the level of an ‘adverse employment action’ to fall




  4   Of note, Plaintiff argues that many of Defendant’s “protected activity” arguments pertain to
      factual matters that should be fleshed out in discovery. (Doc. 20, pp. 11, 13, 15–16). The Court
      ultimately disagrees. While Plaintiff need not meet the bar necessary to survive summary
      judgment, it is a legal question whether the non-conclusory allegations pled in the Complaint
      support a plausible inference that Plaintiff had an objectively reasonable belief that he was
      opposing unlawful employer actions. See Henderson v. JP Morgan Chase Bank, N.A., 436 F.
      App’x 935, 937 (11th Cir. 2011). As such, Defendant does not “illustrate[ its] animus” against
      Plaintiff by citing to various allegations within the Complaint in order to support its argument
      that Plaintiff’s belief regarding the unlawfulness of Defendant’s actions as the employer was
      not objectively reasonable. (Doc. 20, p. 11).



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  under Title VII’s prohibitions.” (Doc. 31, p. 8 (quoting Howard v. Walgreen Co.,

  605 F.3d 1239, 1245 (11th Cir. 2010))).

               1.     Adverse Employment Action: Plaintiff’s Allegations

        Plaintiff argues, in effect, that if he had issued the written reprimands as

  ordered, those firefighters would have experienced an adverse employment action.

  (See Doc. 20, p. 15). Plaintiff acknowledges Defendant’s vaccination policy

  provided that, beyond being subject to written reprimand, “[n]o further

  disciplinary action shall be taken for failing to comply with the COVID-19

  vaccination policy deadlines. This written reprimand shall not be considered or

  used in the bargaining unit member’s performance evaluation.” (Doc. 1-1, ¶¶ 17–

  18; Doc. 1-1, p. 38). Plaintiff notes this disciplinary policy does not comport with

  Defendant’s normal policy which provides that written reprimands can give rise to

  “future discipline up to and including termination.” (Id. ¶ 40; Doc. 20, p. 15).

  Plaintiff further argues that this reprimand “was part of progressive discipline”:

  those who did not timely submit their exemption request were subject to testing

  requirements, which if uncompiled with could give rise to disciplinary measures

  beyond a written reprimand. (Doc. 1-1, ¶¶ 17–18; Doc. 1-1, pp. 38–39; Doc. 20, p.

  15). In other words, Plaintiff contends that it was objectively reasonable for him to

  believe that administering this discipline would result in an adverse employment

  action to those subject to that discipline. (Doc. 20, pp. 14–16). At a minimum,

  Plaintiff argues this is a question on which he is entitled to seek discovery. (Id.).




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              2.     Adverse Employment Action: Before vs. After Muldrow

        Before Muldrow, the Eleventh Circuit held that an adverse employment

  action is “a serious and material change in the terms, conditions, or privileges of

  employment.” Jefferson v. Sewon Am., Inc., 891 F.3d 911, 921 (11th Cir. 2018)

  (emphasis omitted) (internal quotation marks omitted). After Muldrow, the

  plaintiff still “must show some harm respecting an identifiable term or condition

  of employment,” although that harm need not be “significant . . . [o]r serious, or

  substantial, or any similar adjective suggesting that the disadvantage to the

  employee must exceed a heightened bar.” Muldrow, 601 U.S. at 354–55 (emphasis

  added). In other words, a plaintiff must show a “disadvantageous change in an

  employment term or condition.” Id. at 354 (internal quotation marks and citation

  omitted).

        As the Eleventh Circuit noted, this Court previously found—under the pre-

  Muldrow standard—that “no reasonable person could believe the written

  reprimands constituted serious and material changes to the firefighters’

  employment because they had no effect on their employment at all.” (Doc. 31, p. 5

  (emphasis added); Doc. 27, pp. 17–18). In reaching this finding, the Court

  explained that:

              First, no reasonable person in Plaintiff’s position would have
              believed that the vaccination policy’s express disciplinary
              procedures would not control rather than the general
              disciplinary procedures. (Doc. 1-1, pp. 38–39). Second, no
              reasonable person would thus have believed any further
              potential discipline administered would be related to the
              discipline Plaintiff was ordered to administer. (Id.). Third, no
              reasonable person in Plaintiff’s position would have believed



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               that Defendant would not wipe out this discipline from the
               records of its employees who did, in fact, comply with the
               policy after its human resource lists were accurately updated
               as Defendant, through Assistant Chief Buffkin, had reiterated
               would occur. (Id. ¶¶ 23, 35). Finally, no reasonable person in
               Plaintiff’s position would have believed that continued
               improper disciplinary measures would necessarily come to
               pass against those same employees due to anything beyond
               their own improper actions. (Id. at pp. 38–39).

        (Doc. 27, p. 17).

        The Court finds its previous reasoning equally applicable under “the more

  lenient Muldrow standard.” (Doc. 31, p. 9). Again, as the Eleventh Circuit noted,

  this Court previously found that the alleged adverse employment actions—the

  written reprimands—had “no effect,” or harm, on the firefighters’ employment. (Id.

  at p. 5 (emphasis added); Doc. 27, pp. 17–18). The Court’s finding hinged on the

  absence of harm to the firefighters’ employment, rather than the severity of harm.

  (Id.). While Muldrow explains that a harm need not be “serious, or substantial, or

  any similar adjective,” it still requires that there be “some harm.” Muldrow, 601

  U.S. at 354–55. Simply put, Plaintiff’s allegations do not lead to an objectively

  reasonable belief that the written reprimands caused harm, or could have caused

  harm, here—before or after Muldrow. (See Doc. 1-1).

        Even if Plaintiff alleged “some harm,” Plaintiff fails to allege “some harm

  respecting an identifiable term or condition of employment.” Muldrow, 601 U.S.

  at 355 (explaining that the “‘terms [or] conditions’ phrase . . . circumscribes the

  injuries that can give rise to a suit”). Plaintiff fails to identify a single term or

  condition of the firefighters’ employment that was harmed, or could have been




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  harmed, by the written reprimand. (See Doc. 1-1). To the contrary, Plaintiff alleges

  that, beyond the written reprimand, “[n]o further disciplinary action” could “be

  taken for failing to comply with the COVID-19 vaccination policy deadlines.” (Doc.

  1-1, p. 38). Moreover, the vaccination policy delineated that the “written reprimand

  shall not be considered or used in the [firefighter’s] performance evaluation.” (Id.).

  Based on these allegations, the Court cannot reasonably infer that the written

  reprimands harmed the “what, where, and when” of the firefighters’ employment.

  Muldrow, 601 U.S. at 354.

        Notably, the decisions of other courts applying Muldrow to similar cases

  strongly support the findings reached herein. See, e.g., Rios v. Centerra Grp. LLC,

  106 F.4th 101, 112–13 (1st Cir. 2024) (“A mere admonition by a supervisor without

  any formal consequences is not an adverse employment action because it does not

  represent any disadvantageous change in the terms or conditions of the plaintiff’s

  employment.”); McNeal v. City of Blue Ash, 117 F.4th 887, 903 (6th Cir. 2024)

  (finding that a written reprimand—without more—is insufficient to amount to an

  adverse employment action); Kelso v. Vilsack, No. 19-3864, 2024 WL 5159101, at

  *7 (D.D.C. Dec. 18, 2024) (“While the letters [of reprimand] indicate that a failure

  to comply could result in [plaintiff’s] termination, the issuance of the letters did

  not affect any of the terms, conditions, or privileges of [plaintiff’s] employment.

  Simply put, nothing in the letters changed the ‘what, where, or when’ of her work

  with [d]efendant.”); Credle v. Va. Cmty. Coll. Sys., No. 3:24cv233, 2025 WL

  27827, at *8 (E.D. Va. Jan. 23, 2025) (“While [p]laintiff alleges that the Letter of



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  Reprimand caused her ‘emotional distress’ and ‘the loss of career path

  opportunities,’ neither of these allegations show that the Letter o[f] Reprimand

  detrimentally altered the terms and conditions of [p]laintiff’s employment. . . . As

  such, the Letter o[f] Reprimand did not constitute an adverse employment action

  for purposes of a Title VII discrimination claim.”); Obermeyer v. McDonough, No.

  1:23-cv-711, 2024 WL 3890686, at *6 n.4 (S.D. Ohio Aug. 21, 2024) (holding that

  a “formal counseling document that would be punitive in nature”—without more—

  did not amount to an adverse action at the pleading stage because plaintiff did not

  allege “that she received any punitive discipline or that the terms or conditions of

  her employment were affected”); Anmar v. McDonough, No. 22-1608, 2025 WL

  692084, at *8–10 (D. Del. Mar. 4, 2025) (finding that plaintiff failed to

  demonstrate a prima facie case of discrimination under Title VII because nothing

  in the letter of reprimand changed the “what, where, or when” of plaintiff’s

  employment); Zienni v. Mercedes Benz U.S. v. Int’l, Inc., No. 7:23-cv-01002, 2024

  WL 4829484, at *6 (N.D. Ala. Nov. 19, 2024) (finding that plaintiff’s allegations

  that he “could have been subject to discipline, which may eventually have included

  termination” were “hypothetical” and thus “caused no actual harm to an

  ‘identifiable term or condition’” of plaintiff’s employment (emphasis in original)).

        Ultimately, even under Muldrow’s lower threshold, Plaintiff still fails to

  show that the written reprimands amounted to adverse employment actions under

  the Title VII’s discrimination provision. Consequently, Plaintiff could not have had

  an “objectively reasonable” belief that Defendant was unlawfully discriminating



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  against the firefighters when it ordered the written reprimands to be issued. See

  Harper, 139 F.3d at 1388. Plaintiff’s opposition to issuing the written reprimands,

  thus, was not “statutorily protected activity.” Id. As a result, Plaintiff fails to

  demonstrate a prima facie case of retaliation under Title VII, the FCRA, and the

  ADA. 5 See supra note 3 (explaining that the FCRA and ADA are interpreted in

  accord with Title VII).




  5   Plaintiff’s ADA claim fails for an additional reason. To assert a claim of discrimination under
      the ADA, an employee must first establish they are disabled. Hillburn v. Murata Elecs. N.
      Am., Inc., 181 F.3d 1220, 1226 (11th Cir. 1999). The term “disability” is defined under the ADA
      as either (1) a physical or mental impairment that substantially limits one or more major life
      activities of such individual; (2) a record of such an impairment; or (3) being regarded as
      having an impairment. 42 U.S.C. § 12102. “Major life activities” include, for example, caring
      for oneself, performing manual tasks, seeing, hearing, eating, sleeping, walking, standing,
      lifting, speaking, breathing, learning, reading, concentrating, thinking, communicating, and
      working. 42 U.S.C. § 12102(2)(A).

      Here, an employee that voluntarily chooses not to get vaccinated does not have a physical or
      mental impairment that substantially limits one or more major activities; neither is such an
      employee regarded as having such an impairment or as having a record of the same. Id.
      Plaintiff does not put forward any non-conclusory arguments to the contrary; the arguments
      he does muster are entirely bereft of citation to persuasive or controlling authority. (See Doc.
      20, p. 14 n.5). As such, the employees Plaintiff was allegedly protecting from discrimination
      were not disabled as defined under the ADA. Consequently, it was not objectively reasonable
      for Plaintiff to believe that administering discipline to those on the list constituted disability
      discrimination.



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  IV.   CONCLUSION

        Accordingly, it is ORDERED AND ADJUDGED that:

        1.    Defendant’s Motion to Dismiss (Doc. 9) is GRANTED.

        2.    Plaintiff’s claims on remand—Counts II, III, and IV—against

              Defendant Orange County, Florida are DISMISSED WITH

              PREJUDICE.

        3.    The Clerk of Court is DIRECTED to close the file.

        DONE AND ORDERED in Orlando, Florida on March 30, 2025.




  Copies furnished to:

  Counsel of Record
  Unrepresented Parties




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